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     OC CIGARS, LLC
   6
   7                                  UNITED STATES DISTRICT COURT
   8                                 CENTRAL DISTRICT OF CALIFORNIA
   9
  10 BRYAN E. GLYNN,                                Case No. 8:21-CV-00357 JVS (DFMx)
  11                    Plaintiff,                  Judge: Hon. James V. Selna
  12            vs.                                 DECLARATION OF NATHAN
                                                    MOOROE IN SUPPORT OF
  13 OC CIGARS, LLC,
                                                    APPLICATION FOR RELIEF
  14                    Defendant.                  FROM DEFAULT
  15                                                Date: November 1, 2021
  16                                                Time: 1:30 p.m.
                                                    Courtroom: l0C
  17
  18                                                Complaint Filed: February 23, 2021
  19                                                Trial Date: TBD

  20
  21
  22
  23       I, NATHAN MOORE, declare and state as follows:
  24       1.         I am an Owner and Manager of Defendant OC CIGARS, LLC ("Defendant"). I
  25
       have personal knowledge of each fact stated in this declaration. If called as a witness I could
  26
       and would competently testify to these facts.
  27
  28

            DECLARATION OF NATHAN MOOROE IN SUPPORT OF APPLICATION FOR RELIEF FROM DEFAULT
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                                        PROOF OF SERVICE
 2
       STATE OF CALIFORNIA, COUNTY OF ORANGE
 3
              I am employed in the County of Orange, State of California. I am over the age of
 4     eighteen years and not a party to the within action. My business address is: 111 Pacifica,
 5     Suite 120, Irvine, California 92618. On October 1, 2021, I served the foregoing document
       described as DECLARATION OF NATHAN MOOROE IN SUPPORT OF
 6     APPLICATION FOR RELIEF FROM DEFAULT on interested parties in said action
       by placing true copies thereof enclosed in sealed envelopes addressed as follows:
 7

 8     Attorney for Plaintiff
       Jonah A. Grossbardt, Esq.
 9     Matthew L. Rollin, Esq.
10     SRIPLAW
       8730 Wilshire Blvd., Suite 350
11     Beverly Hills, CA 90211
       Tel. (323) 364-6565
12
       Email: Jonah. grossbardt@sriplaw.com
13            Matthew.rollin@scriplaw.com
14     X      BY ELECTRONIC MAIL: Via the CM/ECF system and served pursuant to Local
15            Rule 5-3.2.3, to the parties listed above.

16            BY MAIL AS FOLLOWS: I am "readily familiar" with the firm's practice of
              collection and processing correspondence for mailing. Under that practice it
17
              would be deposited with the U.S. Postal Service on that same day with postage
18            thereon fully prepaid at Irvine, California, in the ordinary course of business. I am
              aware that on motion of the party serviced, service is presumed invalid if postal
19            cancellation date or postage meter date is more than one ( 1) day after date of
20
              deposit for mailing in affidavit.

21
       X      FEDERAL: I declare that I am employed in the office of a member of the bar of
22            this court at whose direction the service was made.
23
       EXECUTED ON October 1            , 2021 at Irvine, California.
24

25

26                                                Kari A. Martin
27

28
                                                     5
        DECLARATION OF NATHAN MOOROE IN SUPPORT OF APPLICATION FOR RELIEF FROM DEFAULT
